Case 1:20-cv-10832-AT-SN Document 885-10 Filed 08/13/22 Page 1 of 2

PX 210
Case 1:20-cv-10832-AT-SN Document 684-10 Filed 08/13/22 Page 2 of 2

 

Message
From: Ripple.com Contact Form [ripplecontact@ripple.com]
Sent: 7/8/2017 2:16:10 AM

To: xrpeontact@ripple.com

Subject: Ripple.com contact form inquiry ‘of
From: @gmail.com>

Organization:

Title: CEO

Message Body:
Dear Ripple employee,

We have invested heavily in XRP and want to invest more for the future of our company.
But we keep hearing disturbing noises that Ripple and xXRP are to be seen as two different companies and
that Ripple might not keep using XRP and will destroy it's value when leaving XRP.

Wwe love XRP but without reassurance that Ripple and XRP will keep working together it's not a good idea
to invest any more fiat into the project.

can you please ease our minds and reassure us Ripple and XRP will never split up?

We always assumed XRP can be seen as the shares of Ripple but we need to be sure this is the case before
investing any further into the project.

These noises are being heard more and more online, so if you want to keep Ripple and XRP stable this
issue should be addressed publicly to so things won't get volatile again because of fake/false
information.

Waiting for your response.

Best arn

This e-mail was sent from a contact form on Ripple.com

HIGHLY CONFIDENTIAL RPLI_SEC 1050593
